
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 0855-11






DAVID CEPEDA JONES, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FOURTH COURT OF APPEALS


BEXAR  COUNTY





		Per curiam.  Keasler and HERVEY, JJ., dissent.


ORDER 



		The petition for discretionary review violates Rules of Appellate Procedure
68.3(i) &amp; 9.3(b) because it does not contain a copy of the opinion of the court of appeals and
the original petition is not accompanied by 11 copies.

		The petition is struck.  See Rule of Appellate Procedure 68.6.

		The petitioner may redraw the petition.  The redrawn petition and copies must
be filed in the Court of Criminal Appeals within thirty days after the date of this order.

			

Filed August 24, 2011

Do not publish

	


